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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT

                                     :
UNITED STATES                        :
                                     :
                                     :
v.                                   :       CIV. NO. 3:12CR117 (WWE)
                                     :
PAPADAKOS ET AL                      :
                                     :
                                     :

                        RULING ON PRETRIAL MOTIONS

        Pending before the Court are various pretrial motions filed

by several defendants in a multi-defendant narcotics case.                    The

pending motions largely seek discovery from the government, and

overlap in the relief requested. The government has filed an

omnibus response in opposition. [Doc. #312].

Background

        On June 14, 2012, following a long-term investigation that

included the use of court-authorized wiretaps, a grand jury

returned a multi-count superseding indictment charging sixteen

(16) individuals with various federal narcotics offenses,

including conspiracy to possess with intent to distribute 500

grams or more of cocaine, Oxycodone, and marijuana in violation

of 21 U.S.C. § 846 (possession and distribution of narcotics).1

Defendants Demetrios Papadakos (“D. Papadakos”), Ioannis

Papachristou (“Papachristou”), Domenick Ribustello

1
    Several defendants have pleaded guilty since June.
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(“Ribustello”), Julio Brinez (“Brinez”)2, Savvas Giannoglou

(“Giannoglou”), George Tkaczyk, Jr. (“Tkaczyk”), Efstrati

Papadakos (“E. Papadakos”), and James Lyons (“Lyons”)3 filed

various standard discovery and pre-trial motions.4

    A. Defendant Ribustello’s Motion to Dismiss, or in the
       alternative, Motion for Bill of Particulars [Doc. #215] and
       Defendants Papachristou, D. Papadakos, and Giannoglou’s
       Motions for Bill of Particulars [Doc. ##171, 222, 252]

        Defendant Ribustello argues that count one of the

superseding indictment is defective because it fails to provide

him with notice of the particular manner and means by which the

conspiracy allegedly operated, of the specific acts allegedly

committed in furtherance of the conspiracy, or the roles of the

various co-conspirators. Defendant Ribustello‟s motion contends

that the government fails to provide any information about the

elements of the conspiracy and how the conduct of defendant


2
  Defendant Brinez pleaded guilty on January 3, 2013. [Doc. #352].
Accordingly, the Court DENIES AS MOOT the following motions
filed prior to Brinez entering a guilty plea: Motion for Bill of
Particulars [Doc. #247]; Motion for Discovery and Pre-trial
Hearing re: Officer “Experts” [Doc. #248]; Motion for Discovery
Request for Notice of Intention to Use Rule 404(b) Evidence
[Doc. #250]; and Motion for Disclosure of statements of Co-
Conspirators [Doc. #251].
3
  Defendant Lyons pleaded guilty on October 23, 2012. [Doc. #290].
Accordingly, the Court DENIES AS MOOT the following motions
filed prior to Lyons entering a guilty plea: Motion to Dismiss
Indictment [Doc. #180]; Motion for Disclosure of Expert Witness
[Doc. #188]; and Motion for Production of Agent‟s Notes [Doc.
#189].
4
  Judge Eginton will rule on the Motions to Suppress and Motions
to Sever.
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constituted a conspiracy to distribute and possess narcotics.

However, the Second Circuit has held that an indictment under 18

U.S.C. §846 “is sufficient if it alleges a conspiracy to

distribute drugs, the time during which the conspiracy was

operative and the statute allegedly violated, even if it fails

to allege any specific overt act in furtherance of the

conspiracy.”   United States v. Bermudez, 526 F.2d 89, 94 (2d

Cir. 1975). The superseding indictment here includes all of

these allegations, and thus is sufficiently specific.

    Defendant Ribustello further argues that if count one is

not dismissed, he is entitled to a bill of particulars.

Defendants Papachristou, D. Papadakos, and Giannoglou have also

filed motions for bills of particulars with respect to the

allegations set forth in count one of the superseding

indictment.    The defendants maintain that they are entitled to a

bill of particulars identifying the basis for, inter alia, the

allegation of conspiracy, the dates on which each co-conspirator

joined the conspiracy, all overt acts not identified in the

indictment, and each defendant‟s alleged participation in each

overt act.

    The decision to grant or deny a request for a bill of

particulars is “reviewed for an abuse of discretion.”            United

States v. Walsh, 194 F.3d 37, 47 (2d Cir. 1999).             “A bill of


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particulars is required “only where the charges of the

indictment are so general that they do not advise the defendant

of the specific acts of which he is accused.” Id. (citation

omitted). As set forth above, the superseding indictment was

satisfactory in this respect.

    “The proper scope and function of a bill of particulars is

not to obtain disclosure of evidence or witnesses to be offered

by the government at trial, but to minimize surprise, to enable

movant to obtain such ultimate facts as are needed to prepare

his defense, and to permit a defendant successfully to plead

double jeopardy if he should be prosecuted later for the same

offense.” United States v. Feola,        651 F. Supp. 1068, 1132

(S.D.N.Y. 1987) (citing cases).         Further, “[b]ecause a bill of

particulars confines the government‟s proof to particulars

furnished, requests for a bill of particulars should not be

granted where the consequence would be to restrict unduly the

government‟s ability to present its case.”          Id. (citing cases).

“The test is not whether the particulars sought would be useful

to the defense. Rather a more appropriate inquiry is whether the

information in question is necessary to the defense.”             United

States v. Guerrerio, 670 F. Supp. 1215, 1224 (S.D.N.Y. 1987)

(citations omitted, emphasis in original).




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    “[A] bill of particulars is not necessary where the

government has made sufficient disclosures concerning its

evidence and witnesses by other means.”          Walsh, 194 F.3d at 47.

Here, the government has provided defendants with “copious

amounts of discovery” constituting a “wealth of evidentiary

detail” including, but not limited to, wiretap applications,

arrest reports, affidavits and orders, DEA-6 forms, lab reports,

copies of calls and text messages intercepted during the wiretap

phase of the underlying investigation, and draft transcripts of

the content of each call and text message created at the time of

interception (i.e. line sheets and/or draft transcripts). [Doc.

#312, at 6-7]; United States v. Deas, No. 3:07-cr-73 (CFD), 2008

WL 5063903, at *3-4 (D. Conn. Nov. 24, 2008). The Court finds

that the government has provided defendants with enough evidence

in discovery to prepare their defense. To find otherwise would

confine the government‟s proof to particulars furnished, thereby

“restricting unduly the Government‟s ability to present its

case.”   Feola,   651 F. Supp. at 1132 (citations omitted);

Guerrerio, 670 F. Supp. at 1224-25 (“A bill of particulars,

however, is not a discovery tool and is not intended to allow

defendants a preview of the evidence or the theory of the

government‟s case.”).        Defendants have not shown that the

particulars sought are necessary to their defense.


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     Accordingly, defendant Ribustello‟s motion for an order

dismissing count one of the superseding indictment or,

alternatively, for an order directing the government to file a

bill of particulars [Doc. #215] and defendants Papachristou, D.

Papadakos, and Giannoglou‟s motions for a bill of particulars

[Doc. ##171, 222, 252] are DENIED.

B. Defendant Tkaczyk’s Motion for Disclosure of Brady, Bagley,
   Giglio and Kyles v. Whitley Discovery [Doc. #265]

     Defendant Tkaczyk moves for an order directing the

Government to provide early disclosure of numerous documents and

information that he contends are due to him under Brady v.

Maryland, 373 U.S. 83 (1963), United States v. Bagley, 473 U.S.

667 (1985), United States v. Giglio, 405 U.S. 150 (1972) and

Kyles v. Whitley, 514 U.S. 419 (1995).5        Specifically, defendant

Tkaczyk seeks discovery largely addressing the credibility and

5
  Bagley and Whitley expand upon the doctrine announced in Brady.
In Bagley, the Supreme Court “disavowed any difference between
exculpatory and impeachment evidence for Brady purposes […]
Bagley held that regardless of request, favorable evidence is
material, and constitutional error results from its suppression
by the government, „if there is a reasonable probability that,
had the evidence been disclosed to the defense, the result of
the proceeding would have been different.‟” Kyles, 514 U.S. at
433-34 (quoting Bagley, 473 U.S. at 682). Kyles further expands
upon the Brady and Bagley doctrines and holds in part that, in
determining whether undisclosed evidence is material in
violation of Brady, the cumulative effect of all suppressed
evidence favorable to the defendant should be considered rather
than considering each item of evidence individually. 514 U.S. at
436-37. Accordingly, for purposes of this section, references
to “Brady materials” shall collectively refer to Brady, Bagley
and Whitley materials.
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motivations of the government‟s cooperating witnesses as well as

any exculpatory information in the government‟s possession.

     The government responds that much of the information sought

by defendant is not discoverable.6      However, to the extent that

defendant‟s motion otherwise relates to Brady and Giglio

materials, the government responds that with respect to Brady

materials, it has disclosed all information known to it that

could be considered exculpatory or bearing on defendant‟s

innocence versus guilt. [Doc. #312, at 14].         With respect to

Giglio materials, the government represents that it will provide

discovery with respect to any impeachment material, such as

criminal histories, cooperation agreements, and details of any

consideration paid or bestowed upon the witnesses, once the list

of witnesses is confirmed for trial.        [Id. at 15].     The

government further states that if it learns of any additional

Brady and Giglio materials not already disclosed, that the

government will disclose these materials promptly. [Id].




6
 The government refers to paragraphs 2a-h of defendant‟s motion
which seek, inter alia, the identity and motivations of the
government‟s cooperating witnesses. [Doc. #265, ¶2a-5].   For
the reasons set forth in section G, infra, such information is
not discoverable absent the defendant‟s showing he “will be
deprived of his right to a fair trial,” absent possessing such
information. See United States v. Fields, 113 F.3d 313, 324 (2d
Cir. 1997). Defendant has failed to make any such showing in his
motion.
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    Accordingly, defendant Tkaczyk‟s motion [Doc. #265] is

DENIED in light of the government‟s representations.

C. Defendant Tkaczyk’s Motion for Jencks Act Material [Doc.
   #266]

    Defendant Tkaczyk moves, pursuant to the Jenks Act, 18

U.S.C. § 3500, for production of statements of the government‟s

witnesses “at this time.” [Doc. #266].        The government responds

that numerous reports and affidavits belonging to the

government‟s witnesses have already been produced, and therefore

defendant‟s motion should be denied on its merits. [Doc. #312,

at 15-16].

    Under the Jenks Act, 18 U.S.C. §3500(a), “no statement or

report in the possession of the United States which was made by

a Government witness or prospective Government witness (other

than the defendant) shall be the subject of subpoena, discovery,

or inspection until said witness has testified on direct

examination in the trial of the case.” The Second Circuit has

consistently held that a district court‟s “power to order

pretrial disclosure is constrained by the Jencks Act,” and that

the district court may not order advance disclosure inconsistent

with the Jencks act itself.      See United States v. Coppa, 267

F.3d 132, 145-46 (2d Cir. 2001) (reversing district court‟s

decision ordering early disclosure of Jencks Act material); see

also United States v. Sebastian, 497 F.2d 1267, 1268-69 (2d Cir.
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1974); United States v. Percevault, 490 F.2d 126, 129 (2d Cir.

1974) (finding that “the district court did not have statutory

authority to compel disclosure [of Jencks Act material] prior to

trial over the government‟s objection).

    Defendant Tkaczyk fails to offer any controlling authority

to override the Jencks Act.      Indeed, the Court is not persuaded

by, or required to follow, the cases cited by defendant.

Moreover, the government has already produced numerous reports

and affidavits relating to government witnesses. This motion for

Jenks Act materials [Doc. #266] is DENIED.

D. Request for Notice of Intention to Use Evidence of Prior
   Misconduct, Fed. R. Evid. 404(b) [Doc. ##224, 263]

    Defendants D. Papadakos and E. Papadakos move for

disclosure and notice of evidence of prior misconduct which the

government intends to use in its case in chief.              The government

states that, “[a]t this time, the Government does not intend to

introduce any 404(b) evidence or other „prior misconduct‟

evidence against any defendant in its case-in-chief.”              [Doc.

#312, at 19].   Each defendant has been provided with a copy of

his criminal history and has been advised that, depending on the

evolution of circumstances approaching trial, any criminal

conviction in their criminal histories may be used as 404(b)

evidence.



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    Accordingly, defendants D. Papadakos and E. Papadakos‟s

motions [Doc. ##224, 263] are DENIED as moot in light of the

government‟s representations, and on this record.

E. Defendant Papachristou’s Motion for Production of Agent’s
   Notes [Doc. #170]

    Defendant Papachristou moves pursuant to 18 U.S.C. 3500(e),

Fed. R. Crim. P. 26.2(f) and Jencks v. United States, 353 U.S.

657 (1957), for “any agents‟ notes taken of any proffer session

or statements made involving himself or any potential witness

who will testify at trial pertaining to him be disclosed

forthwith.” [Doc. #170].

    Fed. R. Crim. P. 26.2(a) provides that, “After a witness

other than the defendant has testified on direct examination,

the court, on motion of a party who did not call the witness,

must order an attorney for the government or the defendant and

the defendant‟s attorney to produce, for the examination and use

of the moving party, any statement of the witness that is in

their possession and relates to the subject matter of the

witness‟s testimony.”       For purposes of Rule 26.2, a witness‟s

statement means “(1) a written statement that the witness makes

and signs, or otherwise adopts or approves; (2) a substantially

verbatim, contemporaneously recorded recital of the witness‟s

oral statement that is contained in any recording or any

transcription of a recording; or (3) the witness‟s statement to
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a grand jury, however taken or recorded, or a transcription of

such statement.” Fed. R. Crim. P. 26.2(f)(1)-(3).

    Fed. R. Crim. P. 16(a)(1)(B)(ii) provides that, upon a

defendant‟s request, the government must produce “the portion of

any written record containing the substance of any relevant oral

statement made before or after arrest if the defendant made the

statement in response to interrogation by a person the defendant

knew was a government agent . . . .”       Under the Jenks Act, 18

U.S.C. §3500(a), no statement or report in the possession of the

United States which was made by a Government witness or

prospective Government witness (other than the defendant) shall

be the subject of subpoena, discovery, or inspection until said

witness has testified on direct examination in the trial of the

case.”

    The Second Circuit recognizes that the notes of

investigators do not constitute Jencks Act materials as defined

by Rule 16. See United States v. Koskerides, 877 F.2d 1129, 1133

(2d Cir. 1989) (finding “the government fully complied with Rule

16(a)(1)(A) by providing appellant with the typewritten

memoranda of interviews prepared from the agent‟s handwritten

notes”); United States v. Elusma, 849 F.2d 76, 79 (2d Cir. 1988)

(agents need not preserve their handwritten notes of interviews

if the agents incorporate them into formal reports), but see,


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United States v. Ionia Management S.A., No. 3:07cr134 (JBA),

2007 WL 2298570, *1-2 (D. Conn. Aug. 3, 2007) (“[I]t is clear

that, pursuant to Rule 16(a)(1)(B)(ii), the Government must

produce all of the agents‟ rough notes of

interviews/interrogations conducted with the defendant‟s

employees/agents . . .”); United States v. Stein, 424 F. Supp.

2d 720, 728-29 (S.D.N.Y. 2006) (finding that Koskerides relied

on an earlier version of Fed. R. Crim. P. 16, failing to take in

to account the 1991 amendment of Rule 16 and ordering the

government to produce rough notes taken by government agents

during interviews with the moving defendants and ordering

preservation of notes taken during interviews with non-moving

defendants with production upon request by the non-moving

defendants).

    Although the agents‟ notes are not witness statements

within the meaning of the Jencks Act, the government

nevertheless represents that it will advise the agencies

involved in the investigation that, to the extent that such

items exist, they should preserve the notes of all witness

and/or defendant interviews. [Doc. #312, at 17].            The government

further represents that such notes shall be disclosed to the

extent that Brady and Giglio require. [Id.].         Finally, defendant




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Papachristou fails to provide any authority to override the

Jencks Act.

    Accordingly, defendant Papachristou‟s motion for production

of agent‟s notes [Doc. #170] is DENIED.

F. Motions for Disclosure of Statements of Co-Conspirators [Doc.
   ## 172, 223, 257, 264]

   Defendants Papachristou, D. Papadakos, Giannoglou and E.

Papadakos move for disclosure of the identity and substance of

those co-conspirators statements that the government intends to

use at trial.   It is established in the Second Circuit that co-

conspirator statements are not discoverable.         United States v.

Percevault, 490 F.2d 126 (2d Cir. 1974)(finding Jencks Act, 18

U.S.C. §3500, prohibited the disclosure of such statements prior

to the declarants‟ testimony in the government‟s case-in-chief

and disclosure is not compelled by Fed. R. Crim. P. 16(a));

United States v. Shyne, 617 F.3d 103, 107-8 (2d Cir. 2010)

(finding Fed. R. Evid 806 does not trump the “express language

of the Jencks Act which states that no disclosure is warranted

until „said witness has testified on direct examination in the

trial of the case.‟”). Moreover, the government has already

disclosed to defendants co-conspirator statements intercepted

during the wiretap phase of the investigation.          Defendants do

not direct the Court to any Second Circuit cases which support

their argument under Fed. R. Evid 801(d)(2)(E).
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    Accordingly, defendants‟ motions for disclosure of

statements of co-Conspirators [Doc. ##172, 223, 257, 264] are

DENIED.

G. Defendants D. Papadakos and Giannoglou’s Motions for
   Disclosure of Confidential Informants and Disclosure of
   Confidential Exculpatory Evidence Concerning Use of
   Confidential Sources [Doc. ##245, 259]

    Defendants D. Papadakos and Gianngolou seek an order

directing the government to furnish defendants with certain

information concerning the use of informants, confidential

sources, sources of information, infiltrators and cooperating

individuals who participated in any way or who are material

witnesses to the events charged in the superseding indictment.

[Doc. # 245, at 1-2; Doc. #259, at 1-2].        The government

contends that defendants‟ motions fail as a matter of law

because defendants have not made the requisite showing to

overcome the informer privilege. [Doc. #312, at 21].            The

government further represents that in its initial discovery

letter, defense counsel was informed that,

          “[t]here are currently three cooperating
          witnesses, identified as CW-1, CW-2 and CW-3 in
          the enclosed wire affidavits”, explaining that
          only CW-1 and CW-2 might testify and that “CW-1
          has a pending case for which he/she hopes to
          receive some benefit as a result of the
          cooperation” and “C-2 received financial
          renumeration for his/her cooperation.” The
          Government further explained that, “[w]ith the
          exception of the above, there currently exist no
          payments, promises of immunity, leniency or
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          preferential treatment made to prospective
          Government witnesses in this case.

[Doc. #312, at 22].    The government moreover represents that, to

the extent it calls any of these confidential witnesses to

testify at trial, the government will comply with its discovery

obligations thirty (30) days prior to the commencement of trial.

[Id. at 23].

     Other than moving for the disclosure of information

concerning the use of informants, confidential sources, sources

of information, infiltrators and cooperating witnesses,

defendants have not undertaken the burden of demonstrating that

they “will be deprived of his right to a fair trial” absent

being provided with that information sooner.         See Fields, 113

F.3d at 324 (“Disclosure is a matter which lies within the sound

disclosure of the district court.”); Rovario v. United States,

353 U.S. 53, 60-61 (1957) (The government is not generally

required to disclose the identity of confidential informants).

“Speculation that disclosure of the informant‟s identity will be

of assistance is not sufficient to meet the defendant‟s burden;

instead, the district court must be satisfied, after balancing

the competing interests of the government and the defense, that

the defendant‟s need for disclosure outweighs the government‟s

interest in shielding the informant‟s identity.” Fields, 113

F.3d at 324; see also U.S. v. Jiminez, 789 F.2d 167, 170 (2d
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Cir. 1986) (citations omitted) (on the issue of disclosing the

identity of confidential informants, “the defendant has the

heavy burden of showing that disclosure is „essential to the

defense‟.”).

    Accordingly, defendants D. Papadakos and Giannoglou‟s

Motions for Disclosure of Confidential Informants and Disclosure

of Confidential Exculpatory Evidence [Doc. ##245, 259] are

DENIED on the current record.

H. Defendants Giannoglou and Papachristou’s Motions for
   Disclosure of Expert Witnesses [Doc. ##173, 255]

    Defendants Giannoglou and Papachristou [Doc. ##173, 255]

move for disclosure of expert witnesses the government intends

to call at trial, including any use of “officer expert”

testimony on terminology contained within telephone transcripts.

The defendants contend that the Second Circuit prohibits the use

of such “officer expert” testimony at trial. [Doc. #173-1, at 1;

Doc. #256, at 1].   The government represents that in its

discovery letters dated July 10, 2012 and July 17, 2012, it

informed defendants that the government planned to comply with

Fed. R. Crim. P. 16(a)(1)(E) by notifying defendants of the name

of any expert that the government intends to call at trial and

providing a summary of expert‟s opinion and qualifications in a

timely fashion after this information becomes available. [Doc.

#312, at 24].
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    The government states that it intends to call at trial DEA

chemists who analyzed purchased or seized narcotics in this

case, and a DEA special agent to provide testimony concerning

the nature and methodology of street drug distribution. [Id.].

The government represents that, with respect to the chemists, it

has already disclosed two lab reports that identify the chemists

who conducted the narcotics analysis, and will disclose all

other lab reports as they become available. [Id.].           Moreover,

the government represents that as soon as it ascertains which

defendants are proceeding to trial, it will be able to identify

with more particularity the drug exhibits that will be offered

into evidence and the chemists testifying. [Id.].           At this time,

the government represents it will provide the defendants with

the chemists‟ qualifications. [Id.].       As to the DEA special

agent(s) identified in the government‟s initial discovery

letter, the government represents that it will provide their

names, qualifications and summaries of their anticipated

testimonies “well in advance of trial”.        [Doc. #312, at 24].

    Accordingly, defendants‟ Motions for Disclosure of Expert

Witnesses [Doc. ##173, 255] are GRANTED in that the government

represents that it shall disclose to defendants: the chemists‟

lab reports as they become available; the chemists‟

qualifications when the government determines which defendants


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 are proceeding to trial; and the names, qualifications and

 summaries of anticipated testimonies of the DEA special agent(s)

 in advance of trial.7

 I. Defendant Ribustello’s Motion to Strike [Doc. #216]

     Defendant Ribustello‟s Motion to Strike as Surplusage

“Domenick Ribustello a.k.a „D‟” from the superseding indictment

[Doc. #216] is GRANTED in light of the Government‟s consent and

agreement to same [Doc. #312, at 57].        Any reference to defendant

Ribustello as “Domenick Ribustello, a.k.a. D” is hereby stricken

from the superseding indictment.

 CONCLUSION

      For the reasons stated, defendant Ribustello‟s motion for

 an order dismissing count one of the superseding indictment or,

 alternatively, for an order directing the government to file a

 bill of particulars [Doc. #215], and defendants Papachristou, D.

 Papadakos, and Giannoglou‟s motions for a bill of particulars

 [Doc. ##171, 222, 252] are DENIED. The ruling concerning Doc.

 ##171, 222, and 252 is a Recommended Ruling.          Any objections to

 7
   In their supporting memorandums [Doc. ## 173-1, 256],
 defendants suggest that the Court should preclude officer expert
 testimony under U.S. v. Mejia, 573 F.3d 179 (2d Cir. 2008). The
 Court notes, however, that the relief sought in the pending
 motions, and accompanying memoranda, only seek disclosure of the
 government‟s expected expert witnesses. Moreover, defendants
 filed motions in limine [Doc. ## 174, 253] seeking to preclude
 the officer expert testimony at issue. As such, only the
 disclosure of the government‟s expert witnesses shall be
 addressed here.
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this recommended ruling must be filed with the Clerk of the

Court within fourteen (14) days of receiving this order.

Failure to object with fourteen (14) days may preclude appellate

review.   See 28 U.S.C. § 636(b)(1); Rules 72, 6(a) and 6(e) of

the Federal Rules of Civil Procedure; Rule 72.2 of the Local

Rules for United States Magistrate Judges; Small v. Secretary of

H.H.S., 892 F. 2d 15 (2d Cir. 1989)(per curiam); F.D.I.C. v.

Hillcrest Assoc., 66 F. 3d 566, 569 (2d Cir. 1995).

    Defendant Tkaczk‟s Motion for Brady, Giglio, Bagley, and

Whitley materials [Doc. #265] is DENIED in light of the

government‟s representation.

    Defendant Tkaczyk‟s Motion for Jenks Act Materials [Doc.

#266] is DENIED. Defendants D. Papadakos and E. Papadakos‟s

Motions for Notice of Intention to Use Evidence of Prior

Misconduct, Fed. R. Evid. 404(b)[Doc. ##224, 263] are DENIED as

moot in light of the government‟s representations, and on the

current record.

    Defendant Papachristou‟s Motion for Production of Agent‟s

Notes [Doc. #170] is DENIED. Defendants‟ Motions for Disclosure

of Statements of Co-Conspirators [Doc. ##172, 223, 257, 264] are

DENIED. Defendants D. Papadakos and Giannoglou‟s Motions for

Disclosure of Confidential Informants and Disclosure of




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Confidential Exculpatory Evidence [Doc. ##245, 259] are DENIED

on the current record.

    Defendants‟ Motions for Disclosure of Expert Witnesses

[Doc. ##173, 255] are GRANTED based on the government‟s

representations that it shall disclose to defendants: the

chemists‟ lab reports as they become available; the chemists‟

qualifications when the government determines which defendants

are proceeding to trial; and the names, qualifications and

summaries of anticipated testimonies of the DEA special agent(s)

in advance of trial.    Defendant Ribustello‟s Motion to Strike as

Surplusage “Domenick Ribustello a.k.a „D‟” from the superseding

indictment [Doc. #216] is GRANTED in light of the Government‟s

consent and agreement to same.

    Except as noted above, this is not a recommended ruling.

This is a discovery ruling and order which is reviewable

pursuant to the "clearly erroneous" statutory standard of

review.   28 U.S.C. § 636 (b)(1)(A); Fed. R. Civ. P. 6(a), 6(e)

and 72(a); and Rule 2 of the Local Rules for United States

Magistrate Judges.    As such, it is an order of the Court unless

reversed or modified by the district judge upon motion timely

made.

    SO ORDERED at Bridgeport this 18th day of January 2013.

                                 _______/s/__________________
                                 HOLLY B. FITZSIMMONS
                                 UNITED STATES MAGISTRATE JUDGE
                                   20
